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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA
                                                  Magistrate No.:
                  v.
                                                  UNDER SEAL
    THOMAS KEELEN

                                   STATEMENT OF FACTS

        1.       The National Center for Missing and Exploited Children (“NCMEC”) is a non-

profit 501(c)(3) organization that serves as a national clearinghouse and resource center for

families, victims, private organizations, law enforcement, and the public on missing and sexually

exploited children. NCMEC operates a CyberTipline (“CT”) and Child Victim Identification

program. Through the CyberTip Line, Internet Service Providers (“ISPs”), Electronic Service

Providers (“ESPs”), and individuals may notify NCMEC about the existence of online child

sexual abuse images. NCMEC makes information submitted to the CyberTipline and Child

Victim Identification Program available to law enforcement agencies.

        2.       On April 23, 2019, Oath Holdings Inc. (“Oath”) submitted CT Report 48983072,

regarding suspected child pornography that had been transmitted over Yahoo Mail by an account

with the Globally Unique Identifier (“GUID”) 1 Y575G6YNVQLW3WQ3BFEBUAGDRM

(“Subject GUID”) and the email address tom_keelen@yahoo.com. Based on information

provided by Oath, email account tom_keelen@yahoo.com was registered on September 29,

2003, with the name “Tom Keelen” (“KEELEN”), the phone number 818-             -3846 (“Subject

Phone Number”), and the alternate email addresses tkeelen@keelengroup.com and

tommykeelen@yahoo.com.



1
 An Oath user account can be identified by the user identifier (i.e. the Yahoo or AOL email
address) and/or Oath’s Globally Unique Identifier (“GUID”).
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       3.       In reviewing this CT Report, on June 4, 2019, a NMEC analyst noted that five

other CT reports filed by Oath, specifically CT Reports 48983917, 48985669, 48985899,

48986814, and 49065491, were all associated with the Subject GUID. NMEC provided

information that an additional CT Report, 49571265, identified an account with GUID

2OVLQK3YAWTPT5HXURTQSWWLT4, and the email address tom.keelen@yahoo.com, that

was registered to an individual with the name “Thomas Keelen” using the Subject Phone

Number. Based on information from a publicly available database regarding the Subject Phone

Number, these CT reports were initially sent to the Los Angeles Police Department (“LAPD”).

       4.       On April 28, 2020, Oath submitted CT Report 71191551 to NCMEC regarding

suspected child pornography that had been transmitted over Yahoo Mail by an account with

GUID FFQXDSFGYFTIPFI34UHBWLTR5U and the email address

treehouse2019@yahoo.com. This email address was registered to an individual with the name

“Tommy Keelan” using the Subject Phone Number. The information provided by Oath to

NCMEC indicated that the files were transmitted on April 22, 2020 at 1:49 pm (UTC) from

Internet Protocol version 6 (“IPv6”) 2 address 2601:14d:8200:2ec0:95f5:d150:b4a5:914e

(“Subject IP Address”). Attached to this CT Report were twenty-six images which depict minors

dressed in swim trunks and/or shorts, and which could be described as child erotica. Notably,

the file that was transmitted on April 22, 2020, from the IP address referenced above, depicts a



2
  An Internet Protocol version 6 address, also known as an “IPv6 address,” or more commonly an
“IP address,” is represented as eight groups, separated by colons (“:”), of four hexadecimal digits
that is used to route traffic on the internet. IPv6 was developed to deal with the anticipated
exhaustion of unique IPv4 addresses, which are a set of four numbers, each ranging from 0 to
255 and separated by a period (“.”). Devices connected to the internet are assigned a unique IP
address. A single IP address can manage internet traffic for more than one computer or device,
such as when a router in one’s home routes traffic to one’s desktop computer, as well as one’s
tablet or smartphone, while all using the same IP address to access the internet. Use of a
common IP address shows the use of shared or common computer infrastructure or use of the
same physical space to connect to the internet.
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young, prepubescent male child, dressed in a pair of athletic socks and short, athletic shorts. He

is in a semi-reclined position, with his leg and shorts positioned in such a manner, and the

camera focused in such a way, that a small portion of his genitals are visible in the image.



          5.       Pursuant to an administrative subpoena issued on May 1, 2020, Comcast

identified the account associated with the Subject IP Address for the time period that the

suspected child pornography images were transmitted over Yahoo Mail. Comcast provided the

following information regarding this account: Subscriber Matthew Keelen, with the service

address                     , Washington, DC 20003. The account listed the Subject Phone Number

as the account phone number and the email address tom_keelen@comcast.net.

          6.       Your affiant reviewed the suspected child pornography files, which were provided

by Oath to NCMEC and later provided to law enforcement. The eight CT Reports included a

total of approximately 2,156 files. Each of the CT Reports stated that Oath had viewed all of the

files believed to contain suspected child pornography prior to submitting them to NCMEC.

          7.       A description of some of these images follows:

                   a.     A male child, who appears to be between the ages of 13-15 based upon the

youthful appearance of his face, with his tongue on an adult man’s penis. (image.5777-6.jpeg)

                   b.     A nude male child, who appears to be under the age of 16 based upon his

small stature and lack of obvious muscle development, crouched above a post-pubescent nude

male. The child has his mouth on the other male’s penis. (image.5447-6.jpeg)

                   c.     A nude male child, approximately 10-13 years old based upon his small

stature and absence of obvious muscle development, sitting on a bed next to an adult man who is
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standing fully naked. The child’s mouth is on the adult man’s penis. Another child is near the

adult man’s leg. (image.5449-6.jpeg)

       8.        Furthermore, a description of some of the images from CT Report 48985669 is as

follows:

                 a.     A black and white photo depicting a nude male child, approximately 14-16

years old who appears to be in the beginning stages of puberty based on body development,

kneeling with his erect penis pointing towards the camera. The minor is positioned in such a

way and the camera is focused in such a way that his genitals are visible and appear to be the

focal point of the image. (image.3939-4.jpeg)

                 b.     A black and white photo of the same child, leaning back with his legs

spread open. The way the minor is positioned, and the way the camera is focused, the child’s

genitals and anus are visible and appear to be the focal point of the image. (image.3946-4.jpeg)

       9.        On May 1, 2020, T-Mobile provided records regarding the Subject Phone

Number. The subscriber of the Subject Phone Number was Tom Keelen (“KEELEN”) with the

listed address                      , Los Angeles, CA 90068.

       10.       On August 15, 2020, the United States Postal Service (“USPS”) provided

information pertaining to KEELEN. Based on records from the USPS Change of Address

Reporting System (“COARS”), KEELEN submitted a change of address from

     , Los Angeles, CA 90068 to                     , Washington, DC 20003 (“Subject

Residence”), effective October 28, 2018.

       11.       Pursuant to a search warrant issued by a United States Magistrate Judge for the

District of Columbia, Oath provided your affiant with the contents of the Yahoo account

associated with the email address tom_keelen@yahoo.com. Your affiant reviewed the contents
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of the email account and identified several images that depict child pornography, as well as

approximately four computer generated images depicting the sexual abuse of children.

         12.     A review of the contents of the Yahoo email account tom_keelen@yahoo.com

revealed that, on April 4, 2019, an individual using the email account tom_keelen@yahoo.com

sent an email to that account (tom_keelen@yahoo.com) with the subject line “MB.” The

following images were attached to this email:

                 a.     A nude, prepubescent male child kneeling in front of what appears to be

an adult man who is clothed. The child’s mouth is on the adult man’s penis, which is exposed

through the opening of his pants.

                 b.     A clothed male child, approximately 10-13 years old given the child’s

small stature and facial characteristics, with his mouth on the penis of an individual who appears

to be a minor.

                 c.     A clothed male child, who appears to be a minor based on his facial

characteristics, with his mouth on an adult man’s erect penis.

         13.     An email sent on April 4, 2019, from an individual using the

tom_keelen@yahoo.com email address to the same account (tom_keelen@yahoo.com) had the

subject line “Friends.” This email contained three images depicting the same post-pubescent

juvenile male, who appears to be a minor based on his small stature and facial characteristics.

One of these images shows the minor turned to the side and holding his erect penis. The camera

is positioned in such a way that his genitals are visible and appear to be the focal point of the

image.

         14.     Two emails sent on April 3, 2019 from and individual using the email account

tom_keelen@yahoo.com to the same account (tom_keelen@yahoo.com) contained the subject

lines “Daddys” and “My son” and included four computer generated images depicting the sexual
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abuse of children as attachments. These images are described as follows:



               a.      A nude prepubescent male child, lying down on a couch with an adult man

who is completely naked. The man’s penis is penetrating the child’s anus.

               b.      A shirtless prepubescent male child, standing in a room. He appears to be

pulling down his underwear. The child’s erect penis is visible.

               c.      A nude prepubescent male child, standing in front of a kneeling, naked

adult man. The man is touching the child’s erect penis, and he is positioned in such a way that it

appears his penis is penetrating the child’s anus.

       15.     Furthermore, an image attached to an email found in the tom_keelen@yahoo.com

account, sent on April 3, 2019 with the subject line “Sonny n pop,” appears to be a photo of a

computer screen showing a picture that has been, or is being, edited in a graphics editor

application. The picture shows a clothed male child sitting with a shirtless adult man. A penis

has been drawn over the man’s shorts and it is positioned in a way to make it appear as if the

child is touching the man’s penis. A review of the photo’s EXIF data3 revealed that the photo

was taken by an Apple iPhone 7, on April 3, 2019, at GPS coordinates (38.88475 -77.00424)

which approximates to the vicinity of the                 , Washington, DC 20003, which is

KEELEN’s residence.

       16.     Based on information provided by Oath to the LAPD pursuant to a search

warrant, tom_keelen@yahoo.com was logged in from IP address



3
  Exchangeable image file format (“EXIF”) is a standard that defines specific information related
to an image or other media captured by a digital camera. EXIF data is recorded at the time the
image is taken and can be viewed by various image viewers and other tools. EXIF data can
contain details such as, but not limited to, camera make and model, camera settings, date/time
the image was captured, and GPS location.
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2601:14d:8201:c373:19d0:e889:7280:b15d on March 29, 2019 and April 5, 2019. Based on

open source searches, the service provider for this IP address is Comcast, and the IP address

resolves to a location in Washington, DC.4

       17.      In May and June 2019, tom_keelen@yahoo.com received six order confirmation

emails from Amazon.com. Each of these emails indicated that the ship-to address was “Tom

Keelen, 145 D St SE,” which is the address for KEELEN’s residence. Furthermore,

tom_keelen@yahoo.com received an email from United Airlines on June 10, 2019 with the

subject line “eTicket Itinerary and Receipt for Confirmation G91898” containing eTicket

information for THOMAS JOHN KEELEN. Furthermore, a review of KEELEN’s Facebook

profile indicates that KEELEN currently lives in Washington, DC, and states that he has been

employed as an Independent Sales Representative at The Keelen Group, LLC, located in

Washington, DC, from November 17, 2018 to the Present.

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4
 Because Comcast does not retain logs for more than six months, the FBI has not been able to
obtain subscriber information for this IP address.
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                                     CONCLUSION

       18.    Based on the above information, there is probable cause to believe that THOMAS

KEELEN committed the following offenses: Transportation of Child Pornography, in violation

of Title 18 U.S.C. § 2252(a)(1) and Possession of Child Pornography, in violation of Title 18

U.S.C. § 2252(a)(4)(B), on or about April 4, 2019; and Distribution and Possession with Intent to

Distribute Obscene Visual Representations of the Sexual Abuse of Children, in violation of Title

18 U.S.C. § 1466A(a)(1), on or about April 3, 2019.

                                             Respectfully submitted,




                                             Julia Chen
                                             Special Agent,
                                             FBI

       Subscribed and sworn to before me telephonically on this 1st day of December, 2020

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                                                                    17:37:24 -05'00'
                                            _________________________________________
                                            HON. ZIA M. FARUQUI,
                                            UNITED STATES MAGISTRATE JUDGE
